Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 1 of 47




     EXHIBIT D
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 2 of 47




                                  Commercial
                                   Arbitration Rules and Mediation Procedures

                                   Including Procedures for Large, Complex Commercial Disputes




                                   Available online at   adr.org/commercial
                                   Rules Amended and Effective October 1, 2013

  Rules Amended and Effective October 1, 2013.                                   COMMERCIAL RULES 1
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 3 of 47
      Regional Vice Presidents
      States: Delaware, District of Columbia,           States: Connecticut, Maine, Massachusetts,
      Maryland, New Jersey, Pennsylvania, Virginia      New Hampshire, Rhode Island, Vermont
      P. Jean Baker, Esq.                               Karen Jalkut
      Vice President                                    Vice President
      Phone: 202.223.7093                               Phone: 617.695.6062
      Email: BakerJ@adr.org                             Email: JalkutK@adr.org

      States: Oklahoma, Texas                           States: Indiana, Kentucky, North Carolina,
      Andrew Barton                                     Ohio, South Carolina, Tennessee, West Virginia
      Vice President                                    Michelle M. Skipper
      Phone: 210.998.5750                               Vice President
      Email: BartonA@adr.org                            Phone: 704.643.8605
                                                        Email: SkipperM@adr.org
      States: Alabama, Georgia
      John M. Bishop                                    States: Florida
      Vice President                                    Rebecca Storrow, Ph.D.
      Phone: 404.320.5150                               Vice President
      Email: BishopJ@adr.org                            Phone: 954.372.4341
                                                        Email: StorrowR@adr.org
      States: Arkansas, Illinois, Iowa, Michigan,
      Minnesota, Missouri, North Dakota,                States: Arizona, Colorado, Kansas, Hawaii,
      South Dakota, Wisconsin                           Idaho, Montana, Nebraska, Nevada,
      Svetlana Gitman, Esq.                             New Mexico, Utah, Wyoming
      Vice President                                    Lance K. Tanaka
      Phone: 773.820.7801                               Vice President
      Email: GitmanS@adr.org                            Phone: 303.831.0824
                                                        Email: TanakaL@adr.org
      States: Alaska, California, Oregon,
      Washington                                        States: New York
      Aaron Gothelf, Esq.                               Jeffrey T. Zaino, Esq.
      Vice President                                    Vice President
      Phone: 415.671.4053                               Phone: 212.484.3224
      Email: GothelfA@adr.org                           Email: ZainoJ@adr.org

      States: City of Houston, Louisiana, Mississippi
      Ingeuneal C. Gray, Esq.
      Vice President
      Phone: 832.308.7893
      Email: GrayI@adr.org


      Case Management
      John M. Bishop                                    Rod Toben
      Vice President                                    Vice President
      Phone: 404.320.5150                               Phone: 972.774.6923
      Email: BishopJ@adr.org                            Email: TobenR@adr.org
      Administers cases in: AL, DC, FL, GA, IN, KY,     Administers Cases in: AR, IL, IA, KS, LA, MN,
      MD, NC, OH, SC, TN, VA                            MS, MO, NE, ND, OK, SD, TX, WI

      Sandra Marshall                                   Yvonne Baglini
      Vice President                                    Assistant Vice President
      Phone: 559.490.1906                               Phone: 866.293.4053
      Email: MarshallS@adr.org                          Email: BagliniY@adr.org
      Administers cases in: AK, AZ, CA, CO, HI, ID,     Administers cases in: CT, DE, MA, ME, MI, NH,
      MT, NV, NM, OR, UT, WA, WY                        NJ, NY, PA, RI, VT, WV




 2   RULES AND MEDIATION PROCEDURES                                                   American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 4 of 47

  Table of Contents
  Important Notice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  Introduction.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
  Standard Arbitration Clause. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  Administrative Fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  Mediation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
  Large, Complex Cases.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

  Commercial Arbitration Rules.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
     R-1. Agreement of Parties*.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
     R-2. AAA and Delegation of Duties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
     R-3. National Roster of Arbitrators. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
     R-4. Filing Requirements. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
     R-5. Answers and Counterclaims. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
     R-6. Changes of Claim. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
     R-7. Jurisdiction. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
     R-8. Interpretation and Application of Rules.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
     R-9. Mediation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
     R-10. Administrative Conference. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
     R-11. Fixing of Locale. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
     R-12. Appointment from National Roster. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
     R-13. Direct Appointment by a Party.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
     R-14. Appointment of Chairperson by Party-Appointed Arbitrators or Parties. . . . . . . . . 16
     R-15. Nationality of Arbitrator. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
     R-16. Number of Arbitrators.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
     R-17. Disclosure. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
     R-18. Disqualification of Arbitrator.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
     R-19. Communication with Arbitrator. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
     R-20. Vacancies.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
     R-21. Preliminary Hearing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
     R-22. Pre-Hearing Exchange and Production of Information. . . . . . . . . . . . . . . . . . . . . . . . . . 19
     R-23. Enforcement Powers of the Arbitrator. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
     R-24. Date, Time, and Place of Hearing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
     R-25. Attendance at Hearings. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21



  Rules Amended and Effective October 1, 2013.                                                                                 COMMERCIAL RULES 3
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 5 of 47

     R-26. Representation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
     R-27. Oaths. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
     R-28. Stenographic Record.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
     R-29. Interpreters.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
     R-30. Postponements. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
     R-31. Arbitration in the Absence of a Party or Representative. . . . . . . . . . . . . . . . . . . . . . . . 22
     R-32. Conduct of Proceedings.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
     R-33. Dispositive Motions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
     R-34. Evidence. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
     R-35. Evidence by Written Statements and Post-Hearing Filing of Documents
     or Other Evidence.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
     R-36. Inspection or Investigation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
     R-37. Interim Measures. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
     R-38. Emergency Measures of Protection. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
     R-39. Closing of Hearing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
     R-40. Reopening of Hearing.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
     R-41. Waiver of Rules. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
     R-42. Extensions of Time.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
     R-43. Serving of Notice and Communications. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26
     R-44. Majority Decision. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
     R-45. Time of Award. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
     R-46. Form of Award.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
     R-47. Scope of Award.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28
     R-48. Award Upon Settlement—Consent Award. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28
     R-49. Delivery of Award to Parties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28
     R-50. Modification of Award.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28
     R-51. Release of Documents for Judicial Proceedings.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
     R-52. Applications to Court and Exclusion of Liability. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
     R-53. Administrative Fees. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
     R-54. Expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29
     R-55. Neutral Arbitrator’s Compensation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30
     R-56. Deposits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30
     R-57. Remedies for Nonpayment. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30
     R-58. Sanctions.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31




 4   RULES AND MEDIATION PROCEDURES                                                                                            American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 6 of 47
  Preliminary Hearing Procedures. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
     P-1. General. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
     P-2. Checklist. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32

  Expedited Procedures. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34
     E-1. Limitation on Extensions. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34
     E-2. Changes of Claim or Counterclaim. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34
     E-3. Serving of Notices. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34
     E-4. Appointment and Qualifications of Arbitrator. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 34
     E-5. Exchange of Exhibits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35
     E-6. Proceedings on Documents and Procedures for the Resolution of Disputes
     Through Document Submission. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35
     E-7. Date, Time, and Place of Hearing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 36
     E-8. The Hearing. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 36
     E-9. Time of Award. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 36
     E-10. Arbitrator’s Compensation.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 36

  Procedures for Large, Complex Commercial Disputes.. . . . . . . . . . . . . . . . . . . . . . . . . . . 37
     L-1. Administrative Conference.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 37
     L-2. Arbitrators. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 37
     L-3. Management of Proceedings. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 38

  Administrative Fee Schedules (Standard and Flexible Fees). . . . . . . . . . . . . . . . . . . . . . 38

  Commercial Mediation Procedures. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 39
     M-1. Agreement of Parties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 39
     M-2. Initiation of Mediation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 39
     M-3. Representation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 39
     M-4. Appointment of the Mediator. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 40
     M-5. Mediator’s Impartiality and Duty to Disclose. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 40
     M-6. Vacancies. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 41
     M-7. Duties and Responsibilities of the Mediator. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 41
     M-8. Responsibilities of the Parties. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 42
     M-9. Privacy. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 42
     M-10. Confidentiality. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 42
     M-11. No Stenographic Record. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 43
     M-12. Termination of Mediation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 43



  Rules Amended and Effective October 1, 2013.                                                                                  COMMERCIAL RULES 5
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 7 of 47

     M-13. Exclusion of Liability. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 43
     M-14. Interpretation and Application of Procedures. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 43
     M-15. Deposits. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 43
     M-16. Expenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 44
     M-17. Cost of the Mediation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 44




 6   RULES AND MEDIATION PROCEDURES                                                                                          American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 8 of 47


       Commercial Arbitration Rules
       and Mediation Procedures
      (Including Procedures for Large, Complex Commercial Disputes)




  Important Notice

  These rules and any amendment of them shall apply in the form in effect at the
  time the administrative filing requirements are met for a demand for arbitration
  or submission agreement received by the AAA®. To ensure that you have the
  most current information, see our web site at www.adr.org.


  Introduction

  Each year, many millions of business transactions take place. Occasionally,
  disagreements develop over these business transactions. Many of these disputes
  are resolved by arbitration, the voluntary submission of a dispute to an impartial
  person or persons for final and binding determination. Arbitration has proven to be
  an effective way to resolve these disputes privately, promptly, and economically.

  The American Arbitration Association® (AAA), a not-for-profit, public service
  organization, offers a broad range of dispute resolution services to business
  executives, attorneys, individuals, trade associations, unions, management,
  consumers, families, communities, and all levels of government. Services are
  available through AAA headquarters in New York and through offices located in
  major cities throughout the United States. Hearings may be held at locations
  convenient for the parties and are not limited to cities with AAA offices. In
  addition, the AAA serves as a center for education and training, issues
  specialized publications, and conducts research on various forms of alternative
  dispute resolution.




  Rules Amended and Effective October 1, 2013.                        COMMERCIAL RULES 7
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 9 of 47
  Standard Arbitration Clause

  The parties can provide for arbitration of future disputes by inserting the
  following clause into their contracts:

       Any controversy or claim arising out of or relating to this contract, or the
       breach thereof, shall be settled by arbitration administered by the
       American Arbitration Association under its Commercial Arbitration Rules,
       and judgment on the award rendered by the arbitrator(s) may be entered
       in any court having jurisdiction thereof.

  Arbitration of existing disputes may be accomplished by use of the following:

       We, the undersigned parties, hereby agree to submit to arbitration
       administered by the American Arbitration Association under its
       Commercial Arbitration Rules the following Controversy: (describe briefly).
       We further agree that the above controversy be submitted to (one) (three)
       arbitrator(s). We further agree that we will faithfully observe this
       agreement and the rules, that we will abide by and perform any award
       rendered by the arbitrator(s), and that a judgment of any court having
       jurisdiction may be entered on the award.

  The services of the AAA are generally concluded with the transmittal of the
  award. Although there is voluntary compliance with the majority of awards,
  judgment on the award can be entered in a court having appropriate jurisdiction
  if necessary.


  Administrative Fees

  The AAA charges a filing fee based on the amount of the claim or counterclaim.
  This fee information, which is included with these rules, allows the parties to
  exercise control over their administrative fees. The fees cover AAA administrative
  services; they do not cover arbitrator compensation or expenses, if any, reporting
  services, or any post-award charges incurred by the parties in enforcing the award.


  Mediation

  Subject to the right of any party to opt out, in cases where a claim or
  counterclaim exceeds $75,000, the rules provide that the parties shall mediate
  their dispute upon the administration of the arbitration or at any time when the


 8   RULES AND MEDIATION PROCEDURES                                   American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 10 of 47
  arbitration is pending. In mediation, the neutral mediator assists the parties in
  reaching a settlement but does not have the authority to make a binding
  decision or award. Mediation is administered by the AAA in accordance with its
  Commercial Mediation Procedures. There is no additional filing fee where parties
  to a pending arbitration attempt to mediate their dispute under the AAA’s auspices.

  Although these rules include a mediation procedure that will apply to many
  cases, parties may still want to incorporate mediation into their contractual dispute
  settlement process. Parties can do so by inserting the following mediation clause
  into their contract in conjunction with a standard arbitration provision:

       If a dispute arises out of or relates to this contract, or the breach thereof,
       and if the dispute cannot be settled through negotiation, the parties
       agree first to try in good faith to settle the dispute by mediation
       administered by the American Arbitration Association under its
       Commercial Mediation Procedures before resorting to arbitration,
       litigation, or some other dispute resolution procedure.

  If the parties want to use a mediator to resolve an existing dispute, they can
  enter into the following submission agreement:

       The parties hereby submit the following dispute to mediation
       administered by the American Arbitration Association under its
       Commercial Mediation Procedures. (The clause may also provide for the
       qualifications of the mediator(s), method of payment, locale of meetings,
       and any other item of concern to the parties.)

  Large, Complex Cases

  Unless the parties agree otherwise, the procedures for Large, Complex
  Commercial Disputes, which appear in this pamphlet, will be applied to all cases
  administered by the AAA under the Commercial Arbitration Rules in which the
  disclosed claim or counterclaim of any party is at least $500,000 exclusive of
  claimed interest, arbitration fees and costs. The key features of these procedures
  include:

  >    A highly qualified, trained Roster of Neutrals;
  >    A mandatory preliminary hearing with the arbitrators, which may be conducted by
       teleconference;
  >    Broad arbitrator authority to order and control the exchange of information,
       including depositions;
  >    A presumption that hearings will proceed on a consecutive or block basis.
  Rules Amended and Effective October 1, 2013.                             COMMERCIAL RULES 9
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 11 of 47
  Commercial Arbitration Rules

  R-1. Agreement of Parties*

  (a) The parties shall be deemed to have made these rules a part of their arbitration
      agreement whenever they have provided for arbitration by the American
      Arbitration Association (hereinafter AAA) under its Commercial Arbitration Rules
      or for arbitration by the AAA of a domestic commercial dispute without specifying
      particular rules. These rules and any amendment of them shall apply in the form
      in effect at the time the administrative requirements are met for a Demand for
      Arbitration or Submission Agreement received by the AAA. Any disputes
      regarding which AAA rules shall apply shall be decided by the AAA. The parties,
      by written agreement, may vary the procedures set forth in these rules. After
      appointment of the arbitrator, such modifications may be made only with the
      consent of the arbitrator.
  (b) Unless the parties or the AAA determines otherwise, the Expedited Procedures
      shall apply in any case in which no disclosed claim or counterclaim exceeds
      $75,000, exclusive of interest, attorneys’ fees, and arbitration fees and costs.
        Parties may also agree to use these procedures in larger cases. Unless the parties
        agree otherwise, these procedures will not apply in cases involving more than two
        parties. The Expedited Procedures shall be applied as described in Sections E-1
        through E-10 of these rules, in addition to any other portion of these rules that is
        not in conflict with the Expedited Procedures.
  (c) Unless the parties agree otherwise, the Procedures for Large, Complex
      Commercial Disputes shall apply to all cases in which the disclosed claim or
      counterclaim of any party is at least $500,000 or more, exclusive of claimed
      interest, attorneys’ fees, arbitration fees and costs. Parties may also agree to use
      the procedures in cases involving claims or counterclaims under $500,000, or in
      nonmonetary cases. The Procedures for Large, Complex Commercial Disputes
      shall be applied as described in Sections L-1 through L-3 of these rules, in
      addition to any other portion of these rules that is not in conflict with the
      Procedures for Large, Complex Commercial Disputes.
  (d) Parties may, by agreement, apply the Expedited Procedures, the Procedures for
      Large, Complex Commercial Disputes, or the Procedures for the Resolution of
      Disputes through Document Submission (Rule E-6) to any dispute.
  (e) All other cases shall be administered in accordance with Sections R-1 through R-58
      of these rules.

  * Beginning October 1, 2017, AAA will apply the Employment Fee Schedule to any dispute between an individual
    employee or an independent contractor (working or performing as an individual and not incorporated) and a
    business or organization and the dispute involves work or work-related claims, including any statutory claims and
    including work-related claims under independent contractor agreements. A dispute arising out of an employment
    plan will be administered under the AAA’s Employment Arbitration Rules and Mediation Procedures. A dispute
    arising out of a consumer arbitration agreement will be administered under the AAA’s Consumer Arbitration Rules.

  * Beginning June 1, 2021, AAA will apply the Consumer Arbitration Fee Schedule to any dispute between an online
    marketplace or platform and an individual user or subscriber (using or subscribed to the service as an individual
    and not incorporated) and the dispute does not involve work or work-related claims.

 10   RULES AND MEDIATION PROCEDURES                                                          American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 12 of 47
  R-2. AAA and Delegation of Duties

  When parties agree to arbitrate under these rules, or when they provide for
  arbitration by the AAA and an arbitration is initiated under these rules, they
  thereby authorize the AAA to administer the arbitration. The authority and duties
  of the AAA are prescribed in the agreement of the parties and in these rules, and
  may be carried out through such of the AAA’s representatives as it may direct. The
  AAA may, in its discretion, assign the administration of an arbitration to any of its
  offices. Arbitrations administered under these rules shall only be administered by
  the AAA or by an individual or organization authorized by the AAA to do so.

  R-3. National Roster of Arbitrators

  The AAA shall establish and maintain a National Roster of Arbitrators (“National
  Roster”) and shall appoint arbitrators as provided in these rules. The term
  “arbitrator” in these rules refers to the arbitration panel, constituted for a
  particular case, whether composed of one or more arbitrators, or to an individual
  arbitrator, as the context requires.

  R-4. Filing Requirements

  (a) Arbitration under an arbitration provision in a contract shall be initiated by the
      initiating party (“claimant”) filing with the AAA a Demand for Arbitration, the
      administrative filing fee, and a copy of the applicable arbitration agreement from
      the parties’ contract which provides for arbitration.
  (b) Arbitration pursuant to a court order shall be initiated by the initiating party filing
      with the AAA a Demand for Arbitration, the administrative filing fee, and a copy of
      any applicable arbitration agreement from the parties’ contract which provides for
      arbitration.
        i.    The filing party shall include a copy of the court order.
        ii. The filing fee must be paid before a matter is considered properly filed. If the
            court order directs that a specific party is responsible for the filing fee, it is
            the responsibility of the filing party to either make such payment to the AAA
            and seek reimbursement as directed in the court order or to make other such
            arrangements so that the filing fee is submitted to the AAA with the Demand.
        iii. The party filing the Demand with the AAA is the claimant and the opposing
             party is the respondent regardless of which party initiated the court action.
             Parties may request that the arbitrator alter the order of proceedings if
             necessary pursuant to R-32.
  (c) It is the responsibility of the filing party to ensure that any conditions precedent
      to the filing of a case are met prior to filing for an arbitration, as well as any time
      requirements associated with the filing. Any dispute regarding whether a condition
      precedent has been met may be raised to the arbitrator for determination.
  Rules Amended and Effective October 1, 2013.                                 COMMERCIAL RULES 11
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 13 of 47
  (d) Parties to any existing dispute who have not previously agreed to use these rules
      may commence an arbitration under these rules by filing a written submission
      agreement and the administrative filing fee. To the extent that the parties’
      submission agreement contains any variances from these rules, such variances
      should be clearly stated in the Submission Agreement.
  (e) Information to be included with any arbitration filing includes:
        i.   the name of each party;
        ii. the address for each party, including telephone and fax numbers and e-mail
            addresses;
        iii. if applicable, the names, addresses, telephone and fax numbers, and e-mail
             addresses of any known representative for each party;
        iv. a statement setting forth the nature of the claim including the relief sought
            and the amount involved; and
        v.   the locale requested if the arbitration agreement does not specify one.
  (f) The initiating party may file or submit a dispute to the AAA in the following
      manner:
        i.   through AAA WebFile, located at www.adr.org; or
        ii. by filing the complete Demand or Submission with any AAA office, regardless
            of the intended locale of hearing.
  (g) The filing party shall simultaneously provide a copy of the Demand and any
      supporting documents to the opposing party.
  (h) The AAA shall provide notice to the parties (or their representatives if so named)
      of the receipt of a Demand or Submission when the administrative filing
      requirements have been satisfied. The date on which the filing requirements are
      satisfied shall establish the date of filing the dispute for administration. However,
      all disputes in connection with the AAA’s determination of the date of filing may
      be decided by the arbitrator.
  (i) If the filing does not satisfy the filing requirements set forth above, the AAA shall
      acknowledge to all named parties receipt of the incomplete filing and inform the
      parties of the filing deficiencies. If the deficiencies are not cured by the date
      specified by the AAA, the filing may be returned to the initiating party.


  R-5. Answers and Counterclaims

  (a) A respondent may file an answering statement with the AAA within 14 calendar
      days after notice of the filing of the Demand is sent by the AAA. The respondent
      shall, at the time of any such filing, send a copy of any answering statement to
      the claimant and to all other parties to the arbitration. If no answering statement
      is filed within the stated time, the respondent will be deemed to deny the claim.
      Failure to file an answering statement shall not operate to delay the arbitration.




 12   RULES AND MEDIATION PROCEDURES                                         American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 14 of 47
  (b) A respondent may file a counterclaim at any time after notice of the filing of the
      Demand is sent by the AAA, subject to the limitations set forth in Rule R-6. The
      respondent shall send a copy of the counterclaim to the claimant and all other
      parties to the arbitration. If a counterclaim is asserted, it shall include a statement
      setting forth the nature of the counterclaim including the relief sought and the
      amount involved. The filing fee as specified in the applicable AAA Fee Schedule
      must be paid at the time of the filing of any counterclaim.
  (c) If the respondent alleges that a different arbitration provision is controlling, the
      matter will be administered in accordance with the arbitration provision submitted
      by the initiating party subject to a final determination by the arbitrator.
  (d) If the counterclaim does not meet the requirements for filing a claim and the
      deficiency is not cured by the date specified by the AAA, it may be returned to the
      filing party.

  R-6. Changes of Claim

  (a) A party may at any time prior to the close of the hearing or by the date
      established by the arbitrator increase or decrease the amount of its claim or
      counterclaim. Written notice of the change of claim amount must be provided to
      the AAA and all parties. If the change of claim amount results in an increase in
      administrative fee, the balance of the fee is due before the change of claim
      amount may be accepted by the arbitrator.
  (b) Any new or different claim or counterclaim, as opposed to an increase or decrease
      in the amount of a pending claim or counterclaim, shall be made in writing and
      filed with the AAA, and a copy shall be provided to the other party, who shall have
      a period of 14 calendar days from the date of such transmittal within which to file
      an answer to the proposed change of claim or counterclaim with the AAA. After
      the arbitrator is appointed, however, no new or different claim may be submitted
      except with the arbitrator’s consent.

  R-7. Jurisdiction

  (a) The arbitrator shall have the power to rule on his or her own jurisdiction, including
      any objections with respect to the existence, scope, or validity of the arbitration
      agreement or to the arbitrability of any claim or counterclaim.
  (b) The arbitrator shall have the power to determine the existence or validity of a
      contract of which an arbitration clause forms a part. Such an arbitration clause
      shall be treated as an agreement independent of the other terms of the contract.
      A decision by the arbitrator that the contract is null and void shall not for that
      reason alone render invalid the arbitration clause.
  (c) A party must object to the jurisdiction of the arbitrator or to the arbitrability of a
      claim or counterclaim no later than the filing of the answering statement to the
      claim or counterclaim that gives rise to the objection. The arbitrator may rule on
      such objections as a preliminary matter or as part of the final award.


  Rules Amended and Effective October 1, 2013.                                 COMMERCIAL RULES 13
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 15 of 47
  R-8. Interpretation and Application of Rules

  The arbitrator shall interpret and apply these rules insofar as they relate to the
  arbitrator’s powers and duties. When there is more than one arbitrator and a
  difference arises among them concerning the meaning or application of these
  rules, it shall be decided by a majority vote. If that is not possible, either an
  arbitrator or a party may refer the question to the AAA for final decision. All other
  rules shall be interpreted and applied by the AAA.

  R-9. Mediation

  In all cases where a claim or counterclaim exceeds $75,000, upon the AAA’s
  administration of the arbitration or at any time while the arbitration is pending,
  the parties shall mediate their dispute pursuant to the applicable provisions of
  the AAA’s Commercial Mediation Procedures, or as otherwise agreed by the
  parties. Absent an agreement of the parties to the contrary, the mediation shall
  take place concurrently with the arbitration and shall not serve to delay the
  arbitration proceedings. However, any party to an arbitration may unilaterally
  opt out of this rule upon notification to the AAA and the other parties to the
  arbitration. The parties shall confirm the completion of any mediation or any
  decision to opt out of this rule to the AAA. Unless agreed to by all parties and
  the mediator, the mediator shall not be appointed as an arbitrator to the case.

  R-10. Administrative Conference

  At the request of any party or upon the AAA’s own initiative, the AAA may
  conduct an administrative conference, in person or by telephone, with the parties
  and/or their representatives. The conference may address such issues as
  arbitrator selection, mediation of the dispute, potential exchange of information,
  a timetable for hearings, and any other administrative matters.

  R-11. Fixing of Locale

  The parties may mutually agree on the locale where the arbitration is to be held.
  Any disputes regarding the locale that are to be decided by the AAA must be
  submitted to the AAA and all other parties within 14 calendar days from the date
  of the AAA’s initiation of the case or the date established by the AAA. Disputes
  regarding locale shall be determined in the following manner:

  (a) When the parties’ arbitration agreement is silent with respect to locale, and if the
      parties disagree as to the locale, the AAA may initially determine the place of


 14   RULES AND MEDIATION PROCEDURES                                        American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 16 of 47
       arbitration, subject to the power of the arbitrator after appointment, to make a
       final determination on the locale.
  (b) When the parties’ arbitration agreement requires a specific locale, absent the
      parties’ agreement to change it, or a determination by the arbitrator upon
      appointment that applicable law requires a different locale, the locale shall be that
      specified in the arbitration agreement.
  (c) If the reference to a locale in the arbitration agreement is ambiguous, and the
      parties are unable to agree to a specific locale, the AAA shall determine the
      locale, subject to the power of the arbitrator to finally determine the locale.


  The arbitrator, at the arbitrator’s sole discretion, shall have the authority to
  conduct special hearings for document production purposes or otherwise at
  other locations if reasonably necessary and beneficial to the process.

  R-12. Appointment from National Roster

  If the parties have not appointed an arbitrator and have not provided any
  other method of appointment, the arbitrator shall be appointed in the following
  manner:

  (a) The AAA shall send simultaneously to each party to the dispute an identical list
      of 10 (unless the AAA decides that a different number is appropriate) names of
      persons chosen from the National Roster. The parties are encouraged to agree to
      an arbitrator from the submitted list and to advise the AAA of their agreement.
  (b) If the parties are unable to agree upon an arbitrator, each party to the dispute
      shall have 14 calendar days from the transmittal date in which to strike names
      objected to, number the remaining names in order of preference, and return the
      list to the AAA. The parties are not required to exchange selection lists. If a party
      does not return the list within the time specified, all persons named therein shall
      be deemed acceptable to that party. From among the persons who have been
      approved on both lists, and in accordance with the designated order of mutual
      preference, the AAA shall invite the acceptance of an arbitrator to serve. If the
      parties fail to agree on any of the persons named, or if acceptable arbitrators are
      unable to act, or if for any other reason the appointment cannot be made from
      the submitted lists, the AAA shall have the power to make the appointment
      from among other members of the National Roster without the submission of
      additional lists.
  (c) Unless the parties agree otherwise, when there are two or more claimants or two
      or more respondents, the AAA may appoint all the arbitrators.




  Rules Amended and Effective October 1, 2013.                               COMMERCIAL RULES 15
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 17 of 47
  R-13. Direct Appointment by a Party

  (a) If the agreement of the parties names an arbitrator or specifies a method of
      appointing an arbitrator, that designation or method shall be followed. The notice
      of appointment, with the name and address of the arbitrator, shall be filed with the
      AAA by the appointing party. Upon the request of any appointing party, the AAA
      shall submit a list of members of the National Roster from which the party may, if it
      so desires, make the appointment.
  (b) Where the parties have agreed that each party is to name one arbitrator, the
      arbitrators so named must meet the standards of Section R-18 with respect to
      impartiality and independence unless the parties have specifically agreed
      pursuant to Section R-18(b) that the party-appointed arbitrators are to be
      non-neutral and need not meet those standards.
  (c) If the agreement specifies a period of time within which an arbitrator shall be
      appointed and any party fails to make the appointment within that period, the
      AAA shall make the appointment.
  (d) If no period of time is specified in the agreement, the AAA shall notify the party
      to make the appointment. If within 14 calendar days after such notice has been
      sent, an arbitrator has not been appointed by a party, the AAA shall make the
      appointment.

  R-14. Appointment of Chairperson by Party-Appointed Arbitrators or Parties

  (a) If, pursuant to Section R-13, either the parties have directly appointed arbitrators,
      or the arbitrators have been appointed by the AAA, and the parties have
      authorized them to appoint a chairperson within a specified time and no
      appointment is made within that time or any agreed extension, the AAA may
      appoint the chairperson.
  (b) If no period of time is specified for appointment of the chairperson, and the
      party-appointed arbitrators or the parties do not make the appointment within
      14 calendar days from the date of the appointment of the last party-appointed
      arbitrator, the AAA may appoint the chairperson.
  (c) If the parties have agreed that their party-appointed arbitrators shall appoint the
      chairperson from the National Roster, the AAA shall furnish to the party-appointed
      arbitrators, in the manner provided in Section R-12, a list selected from the
      National Roster, and the appointment of the chairperson shall be made as
      provided in that Section.




 16   RULES AND MEDIATION PROCEDURES                                         American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 18 of 47
  R-15. Nationality of Arbitrator

  Where the parties are nationals of different countries, the AAA, at the request of
  any party or on its own initiative, may appoint as arbitrator a national of a country
  other than that of any of the parties. The request must be made before the time
  set for the appointment of the arbitrator as agreed by the parties or set by these
  rules.

  R-16. Number of Arbitrators

  (a) If the arbitration agreement does not specify the number of arbitrators, the
      dispute shall be heard and determined by one arbitrator, unless the AAA, in its
      discretion, directs that three arbitrators be appointed. A party may request three
      arbitrators in the Demand or Answer, which request the AAA will consider in
      exercising its discretion regarding the number of arbitrators appointed to the
      dispute.
  (b) Any request for a change in the number of arbitrators as a result of an increase or
      decrease in the amount of a claim or a new or different claim must be made to
      the AAA and other parties to the arbitration no later than seven calendar days
      after receipt of the R-6 required notice of change of claim amount. If the parties
      are unable to agree with respect to the request for a change in the number of
      arbitrators, the AAA shall make that determination.

  R-17. Disclosure

  (a) Any person appointed or to be appointed as an arbitrator, as well as the parties
      and their representatives, shall disclose to the AAA any circumstance likely to give
      rise to justifiable doubt as to the arbitrator’s impartiality or independence,
      including any bias or any financial or personal interest in the result of the arbitration
      or any past or present relationship with the parties or their representatives. Such
      obligation shall remain in effect throughout the arbitration. Failure on the part of a
      party or a representative to comply with the requirements of this rule may result in
      the waiver of the right to object to an arbitrator in accordance with Rule R-41.
  (b) Upon receipt of such information from the arbitrator or another source, the AAA
      shall communicate the information to the parties and, if it deems it appropriate to
      do so, to the arbitrator and others.
  (c) Disclosure of information pursuant to this Section R-17 is not an indication that the
      arbitrator considers that the disclosed circumstance is likely to affect impartiality
      or independence.




  Rules Amended and Effective October 1, 2013.                                 COMMERCIAL RULES 17
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 19 of 47
  R-18. Disqualification of Arbitrator

  (a) Any arbitrator shall be impartial and independent and shall perform his or her
      duties with diligence and in good faith, and shall be subject to disqualification for:
        i.   partiality or lack of independence,
        ii. inability or refusal to perform his or her duties with diligence and in good
            faith, and
        iii. any grounds for disqualification provided by applicable law.
  (b) The parties may agree in writing, however, that arbitrators directly appointed by a
      party pursuant to Section R-13 shall be non-neutral, in which case such arbitrators
      need not be impartial or independent and shall not be subject to disqualification
      for partiality or lack of independence.
  (c) Upon objection of a party to the continued service of an arbitrator, or on its own
      initiative, the AAA shall determine whether the arbitrator should be disqualified
      under the grounds set out above, and shall inform the parties of its decision,
      which decision shall be conclusive.


  R-19. Communication with Arbitrator

  (a) No party and no one acting on behalf of any party shall communicate ex parte
      with an arbitrator or a candidate for arbitrator concerning the arbitration,
      except that a party, or someone acting on behalf of a party, may communicate
      ex parte with a candidate for direct appointment pursuant to R-13 in order to
      advise the candidate of the general nature of the controversy and of the
      anticipated proceedings and to discuss the candidate’s qualifications, availability,
      or independence in relation to the parties or to discuss the suitability of
      candidates for selection as a third arbitrator where the parties or party-designated
      arbitrators are to participate in that selection.
  (b) Section R-19(a) does not apply to arbitrators directly appointed by the parties
      who, pursuant to Section R-18(b), the parties have agreed in writing are
      non-neutral. Where the parties have so agreed under Section R-18(b), the AAA
      shall as an administrative practice suggest to the parties that they agree further
      that Section R-19(a) should nonetheless apply prospectively.
  (c) In the course of administering an arbitration, the AAA may initiate
      communications with each party or anyone acting on behalf of the parties either
      jointly or individually.
  (d) As set forth in R-43, unless otherwise instructed by the AAA or by the arbitrator,
      any documents submitted by any party or to the arbitrator shall simultaneously be
      provided to the other party or parties to the arbitration.




 18   RULES AND MEDIATION PROCEDURES                                          American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 20 of 47
  R-20. Vacancies

  (a) If for any reason an arbitrator is unable or unwilling to perform the duties of the
      office, the AAA may, on proof satisfactory to it, declare the office vacant. Vacancies
      shall be filled in accordance with the applicable provisions of these rules.
  (b) In the event of a vacancy in a panel of neutral arbitrators after the hearings have
      commenced, the remaining arbitrator or arbitrators may continue with the hearing
      and determination of the controversy, unless the parties agree otherwise.
  (c) In the event of the appointment of a substitute arbitrator, the panel of arbitrators
      shall determine in its sole discretion whether it is necessary to repeat all or part of
      any prior hearings.


  R-21. Preliminary Hearing

  (a) At the discretion of the arbitrator, and depending on the size and complexity of
      the arbitration, a preliminary hearing should be scheduled as soon as practicable
      after the arbitrator has been appointed. The parties should be invited to attend
      the preliminary hearing along with their representatives. The preliminary hearing
      may be conducted in person or by telephone.
  (b) At the preliminary hearing, the parties and the arbitrator should be prepared
      to discuss and establish a procedure for the conduct of the arbitration that is
      appropriate to achieve a fair, efficient, and economical resolution of the dispute.
      Sections P-1 and P-2 of these rules address the issues to be considered at the
      preliminary hearing.


  R-22. Pre-Hearing Exchange and Production of Information

  (a) Authority of arbitrator. The arbitrator shall manage any necessary exchange of
      information among the parties with a view to achieving an efficient and
      economical resolution of the dispute, while at the same time promoting equality
      of treatment and safeguarding each party’s opportunity to fairly present its claims
      and defenses.
  (b) Documents. The arbitrator may, on application of a party or on the arbitrator’s own
      initiative:
        i.    require the parties to exchange documents in their possession or custody on
              which they intend to rely;
        ii. require the parties to update their exchanges of the documents on which they
            intend to rely as such documents become known to them;
        iii. require the parties, in response to reasonable document requests, to make
             available to the other party documents, in the responding party’s possession
             or custody, not otherwise readily available to the party seeking the
             documents, reasonably believed by the party seeking the documents to exist
             and to be relevant and material to the outcome of disputed issues; and

  Rules Amended and Effective October 1, 2013.                                COMMERCIAL RULES 19
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 21 of 47
        iv. require the parties, when documents to be exchanged or produced are
            maintained in electronic form, to make such documents available in the form
            most convenient and economical for the party in possession of such
            documents, unless the arbitrator determines that there is good cause for
            requiring the documents to be produced in a different form. The parties
            should attempt to agree in advance upon, and the arbitrator may determine,
            reasonable search parameters to balance the need for production of
            electronically stored documents relevant and material to the outcome of
            disputed issues against the cost of locating and producing them.

  R-23. Enforcement Powers of the Arbitrator

  The arbitrator shall have the authority to issue any orders necessary to enforce
  the provisions of rules R-21 and R-22 and to otherwise achieve a fair, efficient and
  economical resolution of the case, including, without limitation:

  (a) conditioning any exchange or production of confidential documents and
      information, and the admission of confidential evidence at the hearing, on
      appropriate orders to preserve such confidentiality;
  (b) imposing reasonable search parameters for electronic and other documents if the
      parties are unable to agree;
  (c) allocating costs of producing documentation, including electronically stored
      documentation;
  (d) in the case of willful non-compliance with any order issued by the arbitrator,
      drawing adverse inferences, excluding evidence and other submissions, and/or
      making special allocations of costs or an interim award of costs arising from such
      non-compliance; and
  (e) issuing any other enforcement orders which the arbitrator is empowered to issue
      under applicable law.

  R-24. Date, Time, and Place of Hearing

  The arbitrator shall set the date, time, and place for each hearing. The parties
  shall respond to requests for hearing dates in a timely manner, be cooperative in
  scheduling the earliest practicable date, and adhere to the established hearing
  schedule. The AAA shall send a notice of hearing to the parties at least 10 calendar
  days in advance of the hearing date, unless otherwise agreed by the parties.




 20   RULES AND MEDIATION PROCEDURES                                       American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 22 of 47
  R-25. Attendance at Hearings

  The arbitrator and the AAA shall maintain the privacy of the hearings unless the
  law provides to the contrary. Any person having a direct interest in the arbitration
  is entitled to attend hearings. The arbitrator shall otherwise have the power to
  require the exclusion of any witness, other than a party or other essential person,
  during the testimony of any other witness. It shall be discretionary with the
  arbitrator to determine the propriety of the attendance of any other person.

  R-26. Representation

  Any party may participate without representation (pro se), or by counsel or any
  other representative of the party’s choosing, unless such choice is prohibited by
  applicable law. A party intending to be so represented shall notify the other party
  and the AAA of the name, telephone number and address, and email address if
  available, of the representative at least seven calendar days prior to the date set
  for the hearing at which that person is first to appear. When such a representative
  initiates an arbitration or responds for a party, notice is deemed to have been
  given.

  R-27. Oaths

  Before proceeding with the first hearing, each arbitrator may take an oath of
  office and, if required by law, shall do so. The arbitrator may require witnesses to
  testify under oath administered by any duly qualified person and, if it is required
  by law or requested by any party, shall do so.

  R-28. Stenographic Record

  (a) Any party desiring a stenographic record shall make arrangements directly with
      a stenographer and shall notify the other parties of these arrangements at least
      three calendar days in advance of the hearing. The requesting party or parties
      shall pay the cost of the record.
  (b) No other means of recording the proceedings will be permitted absent the
      agreement of the parties or per the direction of the arbitrator.
  (c) If the transcript or any other recording is agreed by the parties or determined by
      the arbitrator to be the official record of the proceeding, it must be provided to
      the arbitrator and made available to the other parties for inspection, at a date,
      time, and place determined by the arbitrator.
  (d) The arbitrator may resolve any disputes with regard to apportionment of the costs
      of the stenographic record or other recording.



  Rules Amended and Effective October 1, 2013.                             COMMERCIAL RULES 21
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 23 of 47
  R-29. Interpreters

  Any party wishing an interpreter shall make all arrangements directly with the
  interpreter and shall assume the costs of the service.

  R-30. Postponements

  The arbitrator may postpone any hearing upon agreement of the parties, upon
  request of a party for good cause shown, or upon the arbitrator’s own initiative.

  R-31. Arbitration in the Absence of a Party or Representative

  Unless the law provides to the contrary, the arbitration may proceed in the
  absence of any party or representative who, after due notice, fails to be present
  or fails to obtain a postponement. An award shall not be made solely on the
  default of a party. The arbitrator shall require the party who is present to submit
  such evidence as the arbitrator may require for the making of an award.

  R-32. Conduct of Proceedings

  (a) The claimant shall present evidence to support its claim. The respondent shall
      then present evidence to support its defense. Witnesses for each party shall also
      submit to questions from the arbitrator and the adverse party. The arbitrator has
      the discretion to vary this procedure, provided that the parties are treated with
      equality and that each party has the right to be heard and is given a fair
      opportunity to present its case.
  (b) The arbitrator, exercising his or her discretion, shall conduct the proceedings with
      a view to expediting the resolution of the dispute and may direct the order of
      proof, bifurcate proceedings and direct the parties to focus their presentations on
      issues the decision of which could dispose of all or part of the case.
  (c) When deemed appropriate, the arbitrator may also allow for the presentation of
      evidence by alternative means including video conferencing, internet
      communication, telephonic conferences and means other than an in-person
      presentation. Such alternative means must afford a full opportunity for all parties
      to present any evidence that the arbitrator deems material and relevant to the
      resolution of the dispute and, when involving witnesses, provide an opportunity
      for cross-examination.
  (d) The parties may agree to waive oral hearings in any case and may also agree to
      utilize the Procedures for Resolution of Disputes Through Document Submission,
      found in Rule E-6.




 22   RULES AND MEDIATION PROCEDURES                                        American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 24 of 47
  R-33. Dispositive Motions

  The arbitrator may allow the filing of and make rulings upon a dispositive motion
  only if the arbitrator determines that the moving party has shown that the motion
  is likely to succeed and dispose of or narrow the issues in the case.

  R-34. Evidence

  (a) The parties may offer such evidence as is relevant and material to the dispute and
      shall produce such evidence as the arbitrator may deem necessary to an
      understanding and determination of the dispute. Conformity to legal rules of
      evidence shall not be necessary. All evidence shall be taken in the presence of all
      of the arbitrators and all of the parties, except where any of the parties is absent,
      in default, or has waived the right to be present.
  (b) The arbitrator shall determine the admissibility, relevance, and materiality of the
      evidence offered and may exclude evidence deemed by the arbitrator to be
      cumulative or irrelevant.
  (c) The arbitrator shall take into account applicable principles of legal privilege, such
      as those involving the confidentiality of communications between a lawyer and
      client.
  (d) An arbitrator or other person authorized by law to subpoena witnesses or
      documents may do so upon the request of any party or independently.


  R-35. Evidence by Written Statements and Post-Hearing Filing of Documents
  or Other Evidence

  (a) At a date agreed upon by the parties or ordered by the arbitrator, the parties shall
      give written notice for any witness or expert witness who has provided a written
      witness statement to appear in person at the arbitration hearing for examination.
      If such notice is given, and the witness fails to appear, the arbitrator may disregard
      the written witness statement and/or expert report of the witness or make such
      other order as the arbitrator may consider to be just and reasonable.
  (b) If a witness whose testimony is represented by a party to be essential is unable or
      unwilling to testify at the hearing, either in person or through electronic or other
      means, either party may request that the arbitrator order the witness to appear
      in person for examination before the arbitrator at a time and location where the
      witness is willing and able to appear voluntarily or can legally be compelled to do
      so. Any such order may be conditioned upon payment by the requesting party of
      all reasonable costs associated with such examination.
  (c) If the parties agree or the arbitrator directs that documents or other evidence be
      submitted to the arbitrator after the hearing, the documents or other evidence
      shall be filed with the AAA for transmission to the arbitrator. All parties shall be
      afforded an opportunity to examine and respond to such documents or other
      evidence.

  Rules Amended and Effective October 1, 2013.                               COMMERCIAL RULES 23
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 25 of 47
  R-36. Inspection or Investigation

  An arbitrator finding it necessary to make an inspection or investigation in
  connection with the arbitration shall direct the AAA to so advise the parties. The
  arbitrator shall set the date and time and the AAA shall notify the parties. Any
  party who so desires may be present at such an inspection or investigation. In the
  event that one or all parties are not present at the inspection or investigation, the
  arbitrator shall make an oral or written report to the parties and afford them an
  opportunity to comment.

  R-37. Interim Measures

  (a) The arbitrator may take whatever interim measures he or she deems necessary,
      including injunctive relief and measures for the protection or conservation of
      property and disposition of perishable goods.
  (b) Such interim measures may take the form of an interim award, and the arbitrator
      may require security for the costs of such measures.
  (c) A request for interim measures addressed by a party to a judicial authority shall
      not be deemed incompatible with the agreement to arbitrate or a waiver of the
      right to arbitrate.

  R-38. Emergency Measures of Protection

  (a) Unless the parties agree otherwise, the provisions of this rule shall apply to
      arbitrations conducted under arbitration clauses or agreements entered on or
      after October 1, 2013.
  (b) A party in need of emergency relief prior to the constitution of the panel shall
      notify the AAA and all other parties in writing of the nature of the relief sought
      and the reasons why such relief is required on an emergency basis. The application
      shall also set forth the reasons why the party is entitled to such relief. Such notice
      may be given by facsimile or e-mail or other reliable means, but must include a
      statement certifying that all other parties have been notified or an explanation of
      the steps taken in good faith to notify other parties.
  (c) Within one business day of receipt of notice as provided in section (b), the AAA
      shall appoint a single emergency arbitrator designated to rule on emergency
      applications. The emergency arbitrator shall immediately disclose any
      circumstance likely, on the basis of the facts disclosed on the application, to affect
      such arbitrator’s impartiality or independence. Any challenge to the appointment
      of the emergency arbitrator must be made within one business day of the
      communication by the AAA to the parties of the appointment of the emergency
      arbitrator and the circumstances disclosed.




 24   RULES AND MEDIATION PROCEDURES                                         American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 26 of 47
  (d) The emergency arbitrator shall as soon as possible, but in any event within two
      business days of appointment, establish a schedule for consideration of the
      application for emergency relief. Such a schedule shall provide a reasonable
      opportunity to all parties to be heard, but may provide for proceeding by
      telephone or video conference or on written submissions as alternatives to a
      formal hearing. The emergency arbitrator shall have the authority vested in the
      tribunal under Rule 7, including the authority to rule on her/his own jurisdiction,
      and shall resolve any disputes over the applicability of this Rule 38.
  (e) If after consideration the emergency arbitrator is satisfied that the party seeking
      the emergency relief has shown that immediate and irreparable loss or damage
      shall result in the absence of emergency relief, and that such party is entitled to
      such relief, the emergency arbitrator may enter an interim order or award granting
      the relief and stating the reason therefore.
  (f) Any application to modify an interim award of emergency relief must be based on
      changed circumstances and may be made to the emergency arbitrator until the
      panel is constituted; thereafter such a request shall be addressed to the panel.
      The emergency arbitrator shall have no further power to act after the panel is
      constituted unless the parties agree that the emergency arbitrator is named as a
      member of the panel.
  (g) Any interim award of emergency relief may be conditioned on provision by the
      party seeking such relief for appropriate security.
  (h) A request for interim measures addressed by a party to a judicial authority shall
      not be deemed incompatible with this rule, the agreement to arbitrate or a waiver
      of the right to arbitrate. If the AAA is directed by a judicial authority to nominate a
      special master to consider and report on an application for emergency relief, the
      AAA shall proceed as provided in this rule and the references to the emergency
      arbitrator shall be read to mean the special master, except that the special master
      shall issue a report rather than an interim award.
  (i) The costs associated with applications for emergency relief shall initially be
      apportioned by the emergency arbitrator or special master, subject to the power
      of the tribunal to determine finally the apportionment of such costs.

  R-39. Closing of Hearing

  (a) The arbitrator shall specifically inquire of all parties whether they have any further
      proofs to offer or witnesses to be heard. Upon receiving negative replies or if
      satisfied that the record is complete, the arbitrator shall declare the hearing closed.
  (b) If documents or responses are to be filed as provided in Rule R-35, or if briefs are
      to be filed, the hearing shall be declared closed as of the final date set by the
      arbitrator for the receipt of briefs. If no documents, responses, or briefs are to
      be filed, the arbitrator shall declare the hearings closed as of the date of the last
      hearing (including telephonic hearings). If the case was heard without any oral
      hearings, the arbitrator shall close the hearings upon the due date established for
      receipt of the final submission.


  Rules Amended and Effective October 1, 2013.                                COMMERCIAL RULES 25
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 27 of 47
  (c) The time limit within which the arbitrator is required to make the award shall
      commence, in the absence of other agreements by the parties, upon the closing
      of the hearing. The AAA may extend the time limit for rendering of the award only
      in unusual and extreme circumstances.

  R-40. Reopening of Hearing

  The hearing may be reopened on the arbitrator’s initiative, or by the direction of
  the arbitrator upon application of a party, at any time before the award is made. If
  reopening the hearing would prevent the making of the award within the specific
  time agreed to by the parties in the arbitration agreement, the matter may not
  be reopened unless the parties agree to an extension of time. When no specific
  date is fixed by agreement of the parties , the arbitrator shall have 30 calendar
  days from the closing of the reopened hearing within which to make an award
  (14 calendar days if the case is governed by the Expedited Procedures).

  R-41. Waiver of Rules

  Any party who proceeds with the arbitration after knowledge that any provision
  or requirement of these rules has not been complied with and who fails to state
  an objection in writing shall be deemed to have waived the right to object.

  R-42. Extensions of Time

  The parties may modify any period of time by mutual agreement. The AAA or the
  arbitrator may for good cause extend any period of time established by these
  rules, except the time for making the award. The AAA shall notify the parties of
  any extension.

  R-43. Serving of Notice and Communications

  (a) Any papers, notices, or process necessary or proper for the initiation or
      continuation of an arbitration under these rules, for any court action in connection
      therewith, or for the entry of judgment on any award made under these rules may
      be served on a party by mail addressed to the party or its representative at the last
      known address or by personal service, in or outside the state where the arbitration
      is to be held, provided that reasonable opportunity to be heard with regard to the
      dispute is or has been granted to the party.
  (b) The AAA, the arbitrator and the parties may also use overnight delivery or
      electronic facsimile transmission (fax), or electronic (e-mail) to give the notices
      required by these rules. Where all parties and the arbitrator agree, notices may be
      transmitted by e-mail or other methods of communication.



 26   RULES AND MEDIATION PROCEDURES                                        American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 28 of 47
  (c) Unless otherwise instructed by the AAA or by the arbitrator, any documents
      submitted by any party to the AAA or to the arbitrator shall simultaneously be
      provided to the other party or parties to the arbitration.
  (d) Unless otherwise instructed by the AAA or by the arbitrator, all written
      communications made by any party to the AAA or to the arbitrator shall
      simultaneously be provided to the other party or parties to the arbitration.
  (e) Failure to provide the other party with copies of communications made to the
      AAA or to the arbitrator may prevent the AAA or the arbitrator from acting on any
      requests or objections contained therein.
  (f) The AAA may direct that any oral or written communications that are sent by a
      party or their representative shall be sent in a particular manner. The failure of a
      party or their representative to do so may result in the AAA’s refusal to consider
      the issue raised in the communication.

  R-44. Majority Decision

  (a) When the panel consists of more than one arbitrator, unless required by law or by
      the arbitration agreement or section (b) of this rule, a majority of the arbitrators
      must make all decisions.
  (b) Where there is a panel of three arbitrators, absent an objection of a party or
      another member of the panel, the chairperson of the panel is authorized to
      resolve any disputes related to the exchange of information or procedural matters
      without the need to consult the full panel.

  R-45. Time of Award

  The award shall be made promptly by the arbitrator and, unless otherwise agreed
  by the parties or specified by law, no later than 30 calendar days from the date of
  closing the hearing, or, if oral hearings have been waived, from the due date set
  for receipt of the parties’ final statements and proofs.

  R-46. Form of Award

  (a) Any award shall be in writing and signed by a majority of the arbitrators. It shall be
      executed in the form and manner required by law.
  (b) The arbitrator need not render a reasoned award unless the parties request such
      an award in writing prior to appointment of the arbitrator or unless the arbitrator
      determines that a reasoned award is appropriate.




  Rules Amended and Effective October 1, 2013.                                COMMERCIAL RULES 27
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 29 of 47
  R-47. Scope of Award

  (a) The arbitrator may grant any remedy or relief that the arbitrator deems just and
      equitable and within the scope of the agreement of the parties, including, but not
      limited to, specific performance of a contract.
  (b) In addition to a final award, the arbitrator may make other decisions, including
      interim, interlocutory, or partial rulings, orders, and awards. In any interim,
      interlocutory, or partial award, the arbitrator may assess and apportion the fees,
      expenses, and compensation related to such award as the arbitrator determines is
      appropriate.
  (c) In the final award, the arbitrator shall assess the fees, expenses, and compensation
      provided in Sections R-53, R-54, and R-55. The arbitrator may apportion such fees,
      expenses, and compensation among the parties in such amounts as the arbitrator
      determines is appropriate.
  (d) The award of the arbitrator(s) may include:
        i.   interest at such rate and from such date as the arbitrator(s) may deem
             appropriate; and
        ii. an award of attorneys’ fees if all parties have requested such an award or it is
            authorized by law or their arbitration agreement.

  R-48. Award Upon Settlement—Consent Award

  (a) If the parties settle their dispute during the course of the arbitration and if the
      parties so request, the arbitrator may set forth the terms of the settlement in a
      “consent award.” A consent award must include an allocation of arbitration costs,
      including administrative fees and expenses as well as arbitrator fees and expenses.
  (b) The consent award shall not be released to the parties until all administrative fees
      and all arbitrator compensation have been paid in full.

  R-49. Delivery of Award to Parties

  Parties shall accept as notice and delivery of the award the placing of the award or
  a true copy thereof in the mail addressed to the parties or their representatives
  at their last known addresses, personal or electronic service of the award, or the
  filing of the award in any other manner that is permitted by law.

  R-50. Modification of Award

  Within 20 calendar days after the transmittal of an award, any party, upon notice
  to the other parties, may request the arbitrator, through the AAA, to correct any
  clerical, typographical, or computational errors in the award. The arbitrator is not



 28   RULES AND MEDIATION PROCEDURES                                          American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 30 of 47
  empowered to redetermine the merits of any claim already decided. The other
  parties shall be given 10 calendar days to respond to the request. The arbitrator
  shall dispose of the request within 20 calendar days after transmittal by the AAA
  to the arbitrator of the request and any response thereto.

  R-51. Release of Documents for Judicial Proceedings

  The AAA shall, upon the written request of a party to the arbitration, furnish to
  the party, at its expense, copies or certified copies of any papers in the AAA’s
  possession that are not determined by the AAA to be privileged or confidential.

  R-52. Applications to Court and Exclusion of Liability

  (a) No judicial proceeding by a party relating to the subject matter of the arbitration
      shall be deemed a waiver of the party’s right to arbitrate.
  (b) Neither the AAA nor any arbitrator in a proceeding under these rules is a
      necessary or proper party in judicial proceedings relating to the arbitration.
  (c) Parties to an arbitration under these rules shall be deemed to have consented that
      judgment upon the arbitration award may be entered in any federal or state court
      having jurisdiction thereof.
  (d) Parties to an arbitration under these rules shall be deemed to have consented
      that neither the AAA nor any arbitrator shall be liable to any party in any action for
      damages or injunctive relief for any act or omission in connection with any
      arbitration under these rules.
  (e) Parties to an arbitration under these rules may not call the arbitrator, the AAA, or
      AAA employees as a witness in litigation or any other proceeding relating to the
      arbitration. The arbitrator, the AAA and AAA employees are not competent to
      testify as witnesses in any such proceeding.

  R-53. Administrative Fees

  As a not-for-profit organization, the AAA shall prescribe administrative fees to
  compensate it for the cost of providing administrative services. The fees in effect
  when the fee or charge is incurred shall be applicable. The filing fee shall be
  advanced by the party or parties making a claim or counterclaim, subject to final
  apportionment by the arbitrator in the award. The AAA may, in the event of
  extreme hardship on the part of any party, defer or reduce the administrative fees.

  R-54. Expenses

  The expenses of witnesses for either side shall be paid by the party producing
  such witnesses. All other expenses of the arbitration, including required travel

  Rules Amended and Effective October 1, 2013.                               COMMERCIAL RULES 29
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 31 of 47
  and other expenses of the arbitrator, AAA representatives, and any witness and
  the cost of any proof produced at the direct request of the arbitrator, shall be
  borne equally by the parties, unless they agree otherwise or unless the arbitrator
  in the award assesses such expenses or any part thereof against any specified
  party or parties.

  R-55. Neutral Arbitrator’s Compensation

  (a) Arbitrators shall be compensated at a rate consistent with the arbitrator’s stated
      rate of compensation.
  (b) If there is disagreement concerning the terms of compensation, an appropriate
      rate shall be established with the arbitrator by the AAA and confirmed to the
      parties.
  (c) Any arrangement for the compensation of a neutral arbitrator shall be made
      through the AAA and not directly between the parties and the arbitrator.

  R-56. Deposits

  (a) The AAA may require the parties to deposit in advance of any hearings such sums
      of money as it deems necessary to cover the expense of the arbitration, including
      the arbitrator’s fee, if any, and shall render an accounting to the parties and return
      any unexpended balance at the conclusion of the case.
  (b) Other than in cases where the arbitrator serves for a flat fee, deposit amounts
      requested will be based on estimates provided by the arbitrator. The arbitrator will
      determine the estimated amount of deposits using the information provided by
      the parties with respect to the complexity of each case.
  (c) Upon the request of any party, the AAA shall request from the arbitrator an
      itemization or explanation for the arbitrator’s request for deposits.

  R-57. Remedies for Nonpayment

  If arbitrator compensation or administrative charges have not been paid in full,
  the AAA may so inform the parties in order that one of them may advance the
  required payment.

  (a) Upon receipt of information from the AAA that payment for administrative
      charges or deposits for arbitrator compensation have not been paid in full, to
      the extent the law allows, a party may request that the arbitrator take specific
      measures relating to a party’s non-payment.
  (b) Such measures may include, but are not limited to, limiting a party’s ability to
      assert or pursue their claim. In no event, however, shall a party be precluded from
      defending a claim or counterclaim.



 30   RULES AND MEDIATION PROCEDURES                                         American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 32 of 47
  (c) The arbitrator must provide the party opposing a request for such measures with
      the opportunity to respond prior to making any ruling regarding the same.
  (d) In the event that the arbitrator grants any request for relief which limits any party’s
      participation in the arbitration, the arbitrator shall require the party who is making
      a claim and who has made appropriate payments to submit such evidence as the
      arbitrator may require for the making of an award.
  (e) Upon receipt of information from the AAA that full payments have not been
      received, the arbitrator, on the arbitrator’s own initiative or at the request of the
      AAA or a party, may order the suspension of the arbitration. If no arbitrator has yet
      been appointed, the AAA may suspend the proceedings.
  (f) If the arbitration has been suspended by either the AAA or the arbitrator and the
      parties have failed to make the full deposits requested within the time provided
      after the suspension, the arbitrator, or the AAA if an arbitrator has not been
      appointed, may terminate the proceedings.

  R-58. Sanctions

  (a) The arbitrator may, upon a party’s request, order appropriate sanctions where a
      party fails to comply with its obligations under these rules or with an order of the
      arbitrator. In the event that the arbitrator enters a sanction that limits any party’s
      participation in the arbitration or results in an adverse determination of an issue
      or issues, the arbitrator shall explain that order in writing and shall require the
      submission of evidence and legal argument prior to making of an award. The
      arbitrator may not enter a default award as a sanction.
  (b) The arbitrator must provide a party that is subject to a sanction request with the
      opportunity to respond prior to making any determination regarding the sanctions
      application.




  Rules Amended and Effective October 1, 2013.                                COMMERCIAL RULES 31
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 33 of 47
  Preliminary Hearing Procedures

  P-1. General

  (a) In all but the simplest cases, holding a preliminary hearing as early in the process
      as possible will help the parties and the arbitrator organize the proceeding in a
      manner that will maximize efficiency and economy, and will provide each party a
      fair opportunity to present its case.
  (b) Care must be taken to avoid importing procedures from court systems, as such
      procedures may not be appropriate to the conduct of arbitrations as an alternative
      form of dispute resolution that is designed to be simpler, less expensive and more
      expeditious.

  P-2. Checklist

  (a) The following checklist suggests subjects that the parties and the arbitrator should
      address at the preliminary hearing, in addition to any others that the parties or
      the arbitrator believe to be appropriate to the particular case. The items to be
      addressed in a particular case will depend on the size, subject matter, and
      complexity of the dispute, and are subject to the discretion of the arbitrator:
       (i)     the possibility of other non-adjudicative methods of dispute resolution,
               including mediation pursuant to R-9;
       (ii)    whether all necessary or appropriate parties are included in the arbitration;
       (iii)   whether a party will seek a more detailed statement of claims, counterclaims
               or defenses;
       (iv)    whether there are any anticipated amendments to the parties’ claims,
               counterclaims, or defenses;
       (v)     which
               (a) arbitration rules;
               (b) procedural law; and
               (c) substantive law govern the arbitration;
       (vi)    whether there are any threshold or dispositive issues that can efficiently be
               decided without considering the entire case, including without limitation,
               (a) any preconditions that must be satisfied before proceeding with the
                   arbitration;
               (b) whether any claim or counterclaim falls outside the arbitrator’s jurisdiction
                   or is otherwise not arbitrable;
               (c) consolidation of the claims or counterclaims with another arbitration; or
               (d) bifurcation of the proceeding.




 32   RULES AND MEDIATION PROCEDURES                                             American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 34 of 47
       (vii) whether the parties will exchange documents, including electronically stored
             documents, on which they intend to rely in the arbitration, and/or make
             written requests for production of documents within defined parameters;
       (viii) whether to establish any additional procedures to obtain information that is
              relevant and material to the outcome of disputed issues;
       (ix)    how costs of any searches for requested information or documents that
               would result in substantial costs should be borne;
       (x)     whether any measures are required to protect confidential information;
       (xi)    whether the parties intend to present evidence from expert witnesses, and
               if so, whether to establish a schedule for the parties to identify their experts
               and exchange expert reports;
       (xii) whether, according to a schedule set by the arbitrator, the parties will
               (a) identify all witnesses, the subject matter of their anticipated testimonies,
                   exchange written witness statements, and determine whether written
                   witness statements will replace direct testimony at the hearing;
               (b) exchange and pre-mark documents that each party intends to submit;
                   and
               (c) exchange pre-hearing submissions, including exhibits;
               (d) the date, time and place of the arbitration hearing;
               (e) whether, at the arbitration hearing,
       (xiii) testimony may be presented in person, in writing, by videoconference, via
              the internet, telephonically, or by other reasonable means;
       (xiv) there will be a stenographic transcript or other record of the proceeding and,
             if so, who will make arrangements to provide it;
               (a) whether any procedure needs to be established for the issuance of
                   subpoenas;
               (b) the identification of any ongoing, related litigation or arbitration;
       (xv) whether post-hearing submissions will be filed;
       (xvi) the form of the arbitration award; and
       (xvii) any other matter the arbitrator considers appropriate or a party wishes
              to raise.
  (b) The arbitrator shall issue a written order memorializing decisions made and
      agreements reached during or following the preliminary hearing.




  Rules Amended and Effective October 1, 2013.                                    COMMERCIAL RULES 33
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 35 of 47
  Expedited Procedures

  E-1. Limitation on Extensions

  Except in extraordinary circumstances, the AAA or the arbitrator may grant a
  party no more than one seven-day extension of time to respond to the Demand
  for Arbitration or counterclaim as provided in Section R-5.

  E-2. Changes of Claim or Counterclaim

  A claim or counterclaim may be increased in amount, or a new or different claim
  or counterclaim added, upon the agreement of the other party, or the consent
  of the arbitrator. After the arbitrator is appointed, however, no new or different
  claim or counterclaim may be submitted except with the arbitrator’s consent. If an
  increased claim or counterclaim exceeds $75,000, the case will be administered
  under the regular procedures unless all parties and the arbitrator agree that the
  case may continue to be processed under the Expedited Procedures.

  E-3. Serving of Notices

  In addition to notice provided by Section R-43, the parties shall also accept
  notice by telephone. Telephonic notices by the AAA shall subsequently be
  confirmed in writing to the parties. Should there be a failure to confirm in writing
  any such oral notice, the proceeding shall nevertheless be valid if notice has, in
  fact, been given by telephone.

  E-4. Appointment and Qualifications of Arbitrator

  (a) The AAA shall simultaneously submit to each party an identical list of five
      proposed arbitrators drawn from its National Roster from which one arbitrator
      shall be appointed.
  (b) The parties are encouraged to agree to an arbitrator from this list and to advise
      the AAA of their agreement. If the parties are unable to agree upon an arbitrator,
      each party may strike two names from the list and return it to the AAA within
      seven days from the date of the AAA’s mailing to the parties. If for any reason the
      appointment of an arbitrator cannot be made from the list, the AAA may make
      the appointment from other members of the panel without the submission of
      additional lists.
  (c) The parties will be given notice by the AAA of the appointment of the arbitrator,
      who shall be subject to disqualification for the reasons specified in Section R-18.
      The parties shall notify the AAA within seven calendar days of any objection to the
      arbitrator appointed. Any such objection shall be for cause and shall be confirmed
      in writing to the AAA with a copy to the other party or parties.

 34   RULES AND MEDIATION PROCEDURES                                       American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 36 of 47
  E-5. Exchange of Exhibits

  At least two business days prior to the hearing, the parties shall exchange copies
  of all exhibits they intend to submit at the hearing. The arbitrator shall resolve
  disputes concerning the exchange of exhibits.

  E-6. Proceedings on Documents and Procedures for the Resolution of Disputes
  Through Document Submission

  Where no party’s claim exceeds $25,000, exclusive of interest, attorneys’ fees and
  arbitration costs, and other cases in which the parties agree, the dispute shall be
  resolved by submission of documents, unless any party requests an oral hearing,
  or the arbitrator determines that an oral hearing is necessary. Where cases are
  resolved by submission of documents, the following procedures may be utilized
  at the agreement of the parties or the discretion of the arbitrator:

  (a) Within 14 calendar days of confirmation of the arbitrator’s appointment, the
      arbitrator may convene a preliminary management hearing, via conference call,
      video conference, or internet, to establish a fair and equitable procedure for the
      submission of documents, and, if the arbitrator deems appropriate, a schedule for
      one or more telephonic or electronic conferences.
  (b) The arbitrator has the discretion to remove the case from the documents-only
      process if the arbitrator determines that an in-person hearing is necessary.
  (c) If the parties agree to in-person hearings after a previous agreement to proceed
      under this rule, the arbitrator shall conduct such hearings. If a party seeks to have
      in-person hearings after agreeing to this rule, but there is not agreement among
      the parties to proceed with in-person hearings, the arbitrator shall resolve the
      issue after the parties have been given the opportunity to provide their respective
      positions on the issue.
  (d) The arbitrator shall establish the date for either written submissions or a final
      telephonic or electronic conference. Such date shall operate to close the hearing
      and the time for the rendering of the award shall commence.
  (e) Unless the parties have agreed to a form of award other than that set forth in
      rule R-46, when the parties have agreed to resolve their dispute by this rule, the
      arbitrator shall render the award within 14 calendar days from the date the hearing
      is closed.
  (f) If the parties agree to a form of award other than that described in rule R-46, the
      arbitrator shall have 30 calendar days from the date the hearing is declared closed
      in which to render the award.
  (g) The award is subject to all other provisions of the Regular Track of these rules
      which pertain to awards.




  Rules Amended and Effective October 1, 2013.                              COMMERCIAL RULES 35
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 37 of 47
  E-7. Date, Time, and Place of Hearing

  In cases in which a hearing is to be held, the arbitrator shall set the date, time,
  and place of the hearing, to be scheduled to take place within 30 calendar days
  of confirmation of the arbitrator’s appointment. The AAA will notify the parties in
  advance of the hearing date.

  E-8. The Hearing

  (a) Generally, the hearing shall not exceed one day. Each party shall have equal
      opportunity to submit its proofs and complete its case. The arbitrator shall
      determine the order of the hearing, and may require further submission of
      documents within two business days after the hearing. For good cause shown, the
      arbitrator may schedule additional hearings within seven business days after the
      initial day of hearings.
  (b) Generally, there will be no stenographic record. Any party desiring a stenographic
      record may arrange for one pursuant to the provisions of Section R-28.

  E-9. Time of Award

  Unless otherwise agreed by the parties, the award shall be rendered not
  later than 14 calendar days from the date of the closing of the hearing or, if oral
  hearings have been waived, from the due date established for the receipt of the
  parties’ final statements and proofs.

  E-10. Arbitrator’s Compensation

  Arbitrators will receive compensation at a rate to be suggested by the AAA
  regional office.




 36   RULES AND MEDIATION PROCEDURES                                      American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 38 of 47
  Procedures for Large, Complex Commercial Disputes

  L-1. Administrative Conference

  Prior to the dissemination of a list of potential arbitrators, the AAA shall, unless
  the parties agree otherwise, conduct an administrative conference with the
  parties and/or their attorneys or other representatives by conference call. The
  conference will take place within 14 calendar days after the commencement of
  the arbitration. In the event the parties are unable to agree on a mutually
  acceptable time for the conference, the AAA may contact the parties individually
  to discuss the issues contemplated herein. Such administrative conference shall
  be conducted for the following purposes and for such additional purposes as the
  parties or the AAA may deem appropriate:

  (a) to obtain additional information about the nature and magnitude of the dispute
      and the anticipated length of hearing and scheduling;
  (b) to discuss the views of the parties about the technical and other qualifications of
      the arbitrators;
  (c) to obtain conflicts statements from the parties; and
  (d) to consider, with the parties, whether mediation or other non-adjudicative
      methods of dispute resolution might be appropriate.

  L-2. Arbitrators

  (a) Large, complex commercial cases shall be heard and determined by either one
      or three arbitrators, as may be agreed upon by the parties. With the exception
      in paragraph (b) below, if the parties are unable to agree upon the number of
      arbitrators and a claim or counterclaim involves at least $1,000,000, then three
      arbitrator(s) shall hear and determine the case. If the parties are unable to
      agree on the number of arbitrators and each claim and counterclaim is less than
      $1,000,000, then one arbitrator shall hear and determine the case.
  (b) In cases involving the financial hardship of a party or other circumstance, the AAA
      at its discretion may require that only one arbitrator hear and determine the case,
      irrespective of the size of the claim involved in the dispute.
  (c) The AAA shall appoint arbitrator(s) as agreed by the parties. If they are unable to
      agree on a method of appointment, the AAA shall appoint arbitrators from the
      Large, Complex Commercial Case Panel, in the manner provided in the regular
      Commercial Arbitration Rules. Absent agreement of the parties, the arbitrator(s)
      shall not have served as the mediator in the mediation phase of the instant
      proceeding.




  Rules Amended and Effective October 1, 2013.                              COMMERCIAL RULES 37
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 39 of 47
  L-3. Management of Proceedings

  (a) The arbitrator shall take such steps as deemed necessary or desirable to avoid
      delay and to achieve a fair, speedy and cost-effective resolution of a Large,
      Complex Commercial Dispute.
  (b) As promptly as practicable after the selection of the arbitrator(s), a preliminary
      hearing shall be scheduled in accordance with sections P-1 and P-2 of these rules.
  (c) The parties shall exchange copies of all exhibits they intend to submit at the
      hearing at least 10 calendar days prior to the hearing unless the arbitrator(s)
      determines otherwise.
  (d) The parties and the arbitrator(s) shall address issues pertaining to the pre-hearing
      exchange and production of information in accordance with rule R-22 of the AAA
      Commercial Rules, and the arbitrator’s determinations on such issues shall be
      included within the Scheduling and Procedure Order.
  (e) The arbitrator, or any single member of the arbitration tribunal, shall be authorized
      to resolve any disputes concerning the pre-hearing exchange and production of
      documents and information by any reasonable means within his discretion,
      including, without limitation, the issuance of orders set forth in rules R-22 and R-23
      of the AAA Commercial Rules.
  (f) In exceptional cases, at the discretion of the arbitrator, upon good cause shown
      and consistent with the expedited nature of arbitration, the arbitrator may order
      depositions to obtain the testimony of a person who may possess information
      determined by the arbitrator to be relevant and material to the outcome of the
      case. The arbitrator may allocate the cost of taking such a deposition.
  (g) Generally, hearings will be scheduled on consecutive days or in blocks of
      consecutive days in order to maximize efficiency and minimize costs.


  Administrative Fee Schedules (Standard and Flexible Fees)

  FOR THE CURRENT ADMINISTRATIVE FEE SCHEDULE, PLEASE VISIT
  www.adr.org/feeschedule.




 38   RULES AND MEDIATION PROCEDURES                                         American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 40 of 47
  Commercial Mediation Procedures

  M-1. Agreement of Parties

  Whenever, by stipulation or in their contract, the parties have provided for
  mediation or conciliation of existing or future disputes under the auspices of the
  American Arbitration Association or under these procedures, the parties and
  their representatives, unless agreed otherwise in writing, shall be deemed to
  have made these procedural guidelines, as amended and in effect as of the date
  of filing of a request for mediation, a part of their agreement and designate the
  AAA as the administrator of their mediation.

  The parties by mutual agreement may vary any part of these procedures
  including, but not limited to, agreeing to conduct the mediation via telephone or
  other electronic or technical means.

  M-2. Initiation of Mediation

  Any party or parties to a dispute may initiate mediation under the AAA’s auspices
  by making a request for mediation to any of the AAA’s regional offices or case
  management centers via telephone, email, regular mail or fax. Requests for
  mediation may also be filed online via WebFile at www.adr.org.

  The party initiating the mediation shall simultaneously notify the other party or
  parties of the request. The initiating party shall provide the following information
  to the AAA and the other party or parties as applicable:

        (i) A copy of the mediation provision of the parties’ contract or the parties’
            stipulation to mediate.
        (ii) The names, regular mail addresses, email addresses, and telephone numbers
             of all parties to the dispute and representatives, if any, in the mediation.
        (iii) A brief statement of the nature of the dispute and the relief requested.
        (iv) Any specific qualifications the mediator should possess.

  M-3. Representation

  Subject to any applicable law, any party may be represented by persons of the
  party’s choice. The names and addresses of such persons shall be communicated
  in writing to all parties and to the AAA.




  Rules Amended and Effective October 1, 2013.                                COMMERCIAL RULES 39
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 41 of 47
  M-4. Appointment of the Mediator

  If the parties have not agreed to the appointment of a mediator and have not
  provided any other method of appointment, the mediator shall be appointed in
  the following manner:

        (i) Upon receipt of a request for mediation, the AAA will send to each party a list
            of mediators from the AAA’s Panel of Mediators. The parties are encouraged
            to agree to a mediator from the submitted list and to advise the AAA of their
            agreement.
        (ii) If the parties are unable to agree upon a mediator, each party shall strike
             unacceptable names from the list, number the remaining names in order of
             preference, and return the list to the AAA. If a party does not return the list
             within the time specified, all mediators on the list shall be deemed
             acceptable. From among the mediators who have been mutually approved
             by the parties, and in accordance with the designated order of mutual
             preference, the AAA shall invite a mediator to serve.
        (iii) If the parties fail to agree on any of the mediators listed, or if acceptable
              mediators are unable to serve, or if for any other reason the appointment
              cannot be made from the submitted list, the AAA shall have the authority to
              make the appointment from among other members of the Panel of Mediators
              without the submission of additional lists.

  M-5. Mediator’s Impartiality and Duty to Disclose

  AAA mediators are required to abide by the Model Standards of Conduct for
  Mediators in effect at the time a mediator is appointed to a case. Where there
  is a conflict between the Model Standards and any provision of these Mediation
  Procedures, these Mediation Procedures shall govern. The Standards require
  mediators to (i) decline a mediation if the mediator cannot conduct it in an
  impartial manner, and (ii) disclose, as soon as practicable, all actual and potential
  conflicts of interest that are reasonably known to the mediator and could
  reasonably be seen as raising a question about the mediator’s impartiality.

  Prior to accepting an appointment, AAA mediators are required to make a
  reasonable inquiry to determine whether there are any facts that a reasonable
  individual would consider likely to create a potential or actual conflict of interest
  for the mediator. AAA mediators are required to disclose any circumstance likely
  to create a presumption of bias or prevent a resolution of the parties’ dispute
  within the time-frame desired by the parties. Upon receipt of such disclosures,
  the AAA shall immediately communicate the disclosures to the parties for their
  comments.


 40   RULES AND MEDIATION PROCEDURES                                            American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 42 of 47
  The parties may, upon receiving disclosure of actual or potential conflicts of
  interest of the mediator, waive such conflicts and proceed with the mediation.
  In the event that a party disagrees as to whether the mediator shall serve, or in
  the event that the mediator’s conflict of interest might reasonably be viewed as
  undermining the integrity of the mediation, the mediator shall be replaced.

  M-6. Vacancies

  If any mediator shall become unwilling or unable to serve, the AAA will appoint
  another mediator, unless the parties agree otherwise, in accordance with section
  M-4.

  M-7. Duties and Responsibilities of the Mediator

        (i) The mediator shall conduct the mediation based on the principle of party
            self-determination. Self-determination is the act of coming to a voluntary,
            uncoerced decision in which each party makes free and informed choices as
            to process and outcome.
        (ii) The mediator is authorized to conduct separate or ex parte meetings and
             other communications with the parties and/or their representatives, before,
             during, and after any scheduled mediation conference. Such communications
             may be conducted via telephone, in writing, via email, online, in person or
             otherwise.
        (iii) The parties are encouraged to exchange all documents pertinent to the relief
              requested. The mediator may request the exchange of memoranda on issues,
              including the underlying interests and the history of the parties’ negotiations.
              Information that a party wishes to keep confidential may be sent to the
              mediator, as necessary, in a separate communication with the mediator.
        (iv) The mediator does not have the authority to impose a settlement on the
             parties but will attempt to help them reach a satisfactory resolution of their
             dispute. Subject to the discretion of the mediator, the mediator may make
             oral or written recommendations for settlement to a party privately or, if the
             parties agree, to all parties jointly.
        (v) In the event a complete settlement of all or some issues in dispute is not
            achieved within the scheduled mediation session(s), the mediator may
            continue to communicate with the parties, for a period of time, in an ongoing
            effort to facilitate a complete settlement.
        (vi) The mediator is not a legal representative of any party and has no fiduciary
             duty to any party.




  Rules Amended and Effective October 1, 2013.                                 COMMERCIAL RULES 41
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 43 of 47
  M-8. Responsibilities of the Parties

  The parties shall ensure that appropriate representatives of each party, having
  authority to consummate a settlement, attend the mediation conference.

  Prior to and during the scheduled mediation conference session(s) the parties
  and their representatives shall, as appropriate to each party’s circumstances,
  exercise their best efforts to prepare for and engage in a meaningful and
  productive mediation.

  M-9. Privacy

  Mediation sessions and related mediation communications are private
  proceedings. The parties and their representatives may attend mediation
  sessions. Other persons may attend only with the permission of the parties and
  with the consent of the mediator.

  M-10. Confidentiality

  Subject to applicable law or the parties’ agreement, confidential information
  disclosed to a mediator by the parties or by other participants (witnesses) in the
  course of the mediation shall not be divulged by the mediator. The mediator
  shall maintain the confidentiality of all information obtained in the mediation,
  and all records, reports, or other documents received by a mediator while serving
  in that capacity shall be confidential.

  The mediator shall not be compelled to divulge such records or to testify in
  regard to the mediation in any adversary proceeding or judicial forum.

  The parties shall maintain the confidentiality of the mediation and shall not rely
  on, or introduce as evidence in any arbitral, judicial, or other proceeding the
  following, unless agreed to by the parties or required by applicable law:

        (i) Views expressed or suggestions made by a party or other participant with
            respect to a possible settlement of the dispute;
        (ii) Admissions made by a party or other participant in the course of the
             mediation proceedings;
        (iii) Proposals made or views expressed by the mediator; or
        (iv) The fact that a party had or had not indicated willingness to accept a proposal
             for settlement made by the mediator.



 42   RULES AND MEDIATION PROCEDURES                                         American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 44 of 47
  M-11. No Stenographic Record

  There shall be no stenographic record of the mediation process.

  M-12. Termination of Mediation

  The mediation shall be terminated:

        (i) By the execution of a settlement agreement by the parties; or
        (ii) By a written or verbal declaration of the mediator to the effect that further
             efforts at mediation would not contribute to a resolution of the parties’
             dispute; or
        (iii) By a written or verbal declaration of all parties to the effect that the mediation
              proceedings are terminated; or
        (iv) When there has been no communication between the mediator and any party
             or party’s representative for 21 days following the conclusion of the mediation
             conference.

  M-13. Exclusion of Liability

  Neither the AAA nor any mediator is a necessary party in judicial proceedings
  relating to the mediation. Neither the AAA nor any mediator shall be liable to
  any party for any error, act or omission in connection with any mediation
  conducted under these procedures.

  M-14. Interpretation and Application of Procedures

  The mediator shall interpret and apply these procedures insofar as they relate
  to the mediator’s duties and responsibilities. All other procedures shall be
  interpreted and applied by the AAA.

  M-15. Deposits

  Unless otherwise directed by the mediator, the AAA will require the parties to
  deposit in advance of the mediation conference such sums of money as it, in
  consultation with the mediator, deems necessary to cover the costs and expenses
  of the mediation and shall render an accounting to the parties and return any
  unexpended balance at the conclusion of the mediation.




  Rules Amended and Effective October 1, 2013.                                  COMMERCIAL RULES 43
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 45 of 47
  M-16. Expenses

  All expenses of the mediation, including required traveling and other expenses
  or charges of the mediator, shall be borne equally by the parties unless they
  agree otherwise. The expenses of participants for either side shall be paid by the
  party requesting the attendance of such participants.

  M-17. Cost of the Mediation

  FOR THE CURRENT ADMINISTRATIVE FEE SCHEDULE, PLEASE VISIT
  www.adr.org/feeschedule.




 44   RULES AND MEDIATION PROCEDURES                               American Arbitration Association
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 46 of 47




     © 2020 American Arbitration Association, Inc. All rights reserved. These rules are the copyrighted property of the
     American Arbitration Association (AAA) and are intended to be used in conjunction with the AAA’s administrative services.
     Any unauthorized use or modification of these rules may violate copyright laws and other applicable laws.
     Please contact 800.778.7879 or websitemail@adr.org for additional information.
Case 5:22-cv-02638-BLF Document 21-6 Filed 06/30/22 Page 47 of 47
     Regional Vice Presidents
     States: Delaware, District of Columbia,           States: Connecticut, Maine, Massachusetts,
     Maryland, New Jersey, Pennsylvania, Virginia      New Hampshire, Rhode Island, Vermont
     P. Jean Baker, Esq.                               Karen Jalkut
     Vice President                                    Vice President
     Phone: 202.223.7093                               Phone: 617.695.6062
     Email: BakerJ@adr.org                             Email: JalkutK@adr.org

     States: Oklahoma, Texas                           States: Indiana, Kentucky, North Carolina,
     Andrew Barton                                     Ohio, South Carolina, Tennessee, West Virginia
     Vice President                                    Michelle M. Skipper
     Phone: 210.998.5750                               Vice President
     Email: BartonA@adr.org                            Phone: 704.643.8605
                                                       Email: SkipperM@adr.org
     States: Alabama, Georgia
     John M. Bishop                                    States: Florida
     Vice President                                    Rebecca Storrow, Ph.D.
     Phone: 404.320.5150                               Vice President
     Email: BishopJ@adr.org                            Phone: 954.372.4341
                                                       Email: StorrowR@adr.org
     States: Arkansas, Illinois, Iowa, Michigan,
     Minnesota, Missouri, North Dakota,                States: Arizona, Colorado, Kansas, Hawaii,
     South Dakota, Wisconsin                           Idaho, Montana, Nebraska, Nevada,
     Svetlana Gitman, Esq.                             New Mexico, Utah, Wyoming
     Vice President                                    Lance K. Tanaka
     Phone: 773.820.7801                               Vice President
     Email: GitmanS@adr.org                            Phone: 303.831.0824
                                                       Email: TanakaL@adr.org
     States: Alaska, California, Oregon,
     Washington                                        States: New York
     Aaron Gothelf, Esq.                               Jeffrey T. Zaino, Esq.
     Vice President                                    Vice President
     Phone: 415.671.4053                               Phone: 212.484.3224
     Email: GothelfA@adr.org                           Email: ZainoJ@adr.org

     States: City of Houston, Louisiana, Mississippi
     Ingeuneal C. Gray, Esq.
     Vice President
     Phone: 832.308.7893
     Email: GrayI@adr.org


     Case Management
     John M. Bishop                                    Rod Toben
     Vice President                                    Vice President
     Phone: 404.320.5150                               Phone: 972.774.6923
     Email: BishopJ@adr.org                            Email: TobenR@adr.org
     Administers cases in: AL, DC, FL, GA, IN, KY,     Administers Cases in: AR, IL, IA, KS, LA, MN,
     MD, NC, OH, SC, TN, VA                            MS, MO, NE, ND, OK, SD, TX, WI

     Sandra Marshall                                   Yvonne Baglini
     Vice President                                    Assistant Vice President
     Phone: 559.490.1906                               Phone: 866.293.4053
     Email: MarshallS@adr.org                          Email: BagliniY@adr.org
     Administers cases in: AK, AZ, CA, CO, HI, ID,     Administers cases in: CT, DE, MA, ME, MI, NH,
     MT, NV, NM, OR, UT, WA, WY                        NJ, NY, PA, RI, VT, WV




                           800.778.7879 | websitemail@adr.org | adr.org
